Case 4:17-cv-13292-LVP-EAS ECF No. 193-2, PagelD.6137 Filed 07/22/21 Page 1 of 2

 

 

STATE OF MICHIGAN COUNTY OF EASTERN DISTRICT

IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN

AFT MICHIGAN
Plaintiff,
-Ps=
PROJECT VERITAS AND MARISSA JORGE
Defendant.

 

 

Civil Action No: 17CV13292
ERVICE RET TOR RICH C SEDD

1, Kris Holliday, being first duly sworn upon my cath docs hereby depose and say that 1 am a person above the age
of majority and I am not a party to the foregoing action or have an interest therein.

{. {>} I made service of said Subpoena in the county aforesaid on the 26th day of June, 2021, ap 10:44
AM by delivering a copy of the same, to RICHARD C SEDDON to wit:

a. [>] Personally and in person at: STAMBAUGH SUB DIVISION LOT 7, 837 Sydnie Ln,
Powell, WYOMING 82435

[>] Home

{ ] Work:

{ ] Bank:

[ ] Other:

b. { ] By leaving copies with , 4 person over the age of 14 years oldat:

2. ( ) [WAS UNABLE TO SERVE FOR THE FOLLOWING REASON:

Physical Description:
White Male.

 

Comments: A little girl answered the door at 836 Sydnie
Lane, Powell, WY. This little girl Is either Richard Seddon’s
daughter or possibly granddaughter, (MIB 4 or 5 YOA).
She answered the door along with her dog, Noch. SME
went inside leaving the front door open. After a few
moments she returned and then an older lady came to the
door whom t assume was Mr. Seddon’s wife. She asked what !
had and | told her | had a Subpoena for Richard Seddon and
she confirmed Richard resided at this property. She indicated|
to wait end went to go get him while guile and Noah
remained outside with me After several minutes the lady
returned to the front door and calied MMB and Noah back
inside and she told me she was sorry. | asked if Richard was
coming to the door and she responded he was not and she
proceeded to shut the door. { was so dumbfounded that | was
unable to throw the paperwork into the house. | rang the
doorbell again but no one responded, | went to my car where
! contacted Tanya @ PSW and relayed to her what had
happened. After a few moments of discussion we decided
that | would attach the Subpeenc to the front door with the
strapping tape | carried in my car. | attached the Subpoena
to the front door (which was a metal door) and proceeded to
take pictures of the door with the Subpoena attached as well

 

 

 

 
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as of the vehicles parked at the residence/shop and | also
took numerous pictures of the property as well as the
property number sign evidencing | was at the correct address.

Subscribed and alfifnjéa, or sworn if the Yat 2 ,
State of thi fA 0 Lo

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STATE OF
WYOMING

JUNE 29, 2024

       

NY COMMUSSION EXPIRES:

American Federation of Teachers 718313

 

 
